     Case 1:22-cv-00424-RP Document 36-1 Filed 06/06/22 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-cv-00424-RP
PURYEAR, KATHY KENNEDY,                    §
REBECCA JONES, RICHARD DAY,                §
CYNTHIA WARING, AND DIANE                  §
MOSTER,                                    §
                                           §
   Plaintiffs,                             §
                                           §
           v.                              §
                                           §
LLANO COUNTY, RON CUNNINGHAM, §
in his official capacity as Llano County   §
Judge, JERRY DON MOSS, in his official §
capacity as Llano County Commissioner,     §
PETER JONES, in his official capacity as   §
Llano County Commissioner, MIKE            §
SANDOVAL, in his official capacity as      §
Llano County Commissioner, LINDA           §
RASCHKE, in her official capacity as Llano §
County Commissioner, AMBER MILUM, §
in her official capacity as Llano County   §
Library System Director, BONNIE            §
WALLACE, in her official capacity as       §
Llano County Library Board Member,         §
ROCHELLE WELLS, in her official            §
capacity as Llano County Library Board     §
Member, RHONDA SCHNEIDER, in her           §
official capacity as Llano County Library  §
Board Member, and GAY BASKIN, in her §
official capacity as Llano County Library  §
Board Member,                              §
                                           §
   Defendants.                             §



DECLARATION OF SARAH SALOMON IN SUPPORT OF PLAINTIFFS’ REPLY
    IN SUPPORT OF THEIR MOTION FOR EXPEDITED DISCOVERY
            Case 1:22-cv-00424-RP Document 36-1 Filed 06/06/22 Page 2 of 3




       I, Sarah Salomon, declare:

       1.       I am an attorney at BraunHagey & Borden LLP and counsel of record for

Plaintiffs in the above-captioned matter. I make this declaration based on personal knowledge

and if called upon to testify, I could and would testify competently to the facts stated herein.

       2.       On May 18, 2022, the parties participated in a telephonic meet and confer

regarding Plaintiffs’ expedited discovery requests. During this meet and confer, Defendants’

counsel stated that they expected to retain outside counsel for Defendants by May 27, 2022, and

that they would instruct outside counsel to contact Plaintiffs regarding any objections to the

discovery requests. Defendants further stated that Plaintiffs’ requests were narrowly tailored to

the issues in the Preliminary Injunction Motion, and that Defendants would collect all documents

responsive to Plaintiffs’ requests by June 2, 2022, such that those documents would be ready for

immediate production.

       3.       On May 27, 2022, I called and emailed Defendants’ counsel to ask if outside

counsel had been retained so that the parties could complete the meet and confer process.

       4.       A true and correct copy of an email thread including an email summarizing the

parties’ May 18, 2022 meet and confer, as well as my subsequent May 27, 2022 follow-up email,

is attached hereto as Exhibit A.

       5.       On June 1, 2022, Defendants filed an opposition to Plaintiffs’ motion raising

objections to all of Plaintiffs’ requests. In an effort to address Defendants’ concerns identified in

Defendants’ opposition, Plaintiffs sent Defendants a letter on June 2, 2022 proposing that the

parties stipulate to certain facts to obviate the need for the requested expedited discovery. A true

and correct copy of Plaintiffs’ June 2, 2022 letter is attached hereto as Exhibit B.




                                                  1
            Case 1:22-cv-00424-RP Document 36-1 Filed 06/06/22 Page 3 of 3




       6.       On June 6, 2022, Defendants responded via email to Plaintiffs’ June 2, 2022

letter, stating “[h]opefully, we can agree to some of these items, but I can’t promise.” Plaintiffs

requested Defendants’ availability for a meet and confer. A true and correct copy of this June 6,

2022 email exchange is attached hereto as Exhibit C.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Dated: June 6, 2022                           By:      /s/ Sarah Salomon
                                                      Sarah Salomon, Esq.




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